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 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,             )   CR. No.   S-09-0097 MCE
                                           )
12                    Plaintiff,           )
                                           )   STIPULATION AND ORDER TO
13   v.                                    )   CONTINUE HEARING DATE AND MODIFY
                                           )   BRIEFING SCHEDULE ON MOTIONS FOR
14   ERIC CLAWSON,                         )   NEW TRIAL AND JUDGMENT OF
                                           )   ACQUITTAL
15                    Defendant.           )
                                           )
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          The parties are working on a potential global resolution of (1)
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     this civil right prosecution and (2) a mortgage fraud investigation of
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     defendant Eric Clawson.    Such resolution could include an agreement to
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     (1) withdraw Clawson’s motion for new trial/motion for judgment of
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     acquittal, to waive appeal and collateral attack in the above-
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     captioned case, as well as (2) pleading guilty to one count of mail
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     fraud.   Such resolution could include relating the mail fraud case to
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     the above case and proceeding with sentencing for the combined
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     offenses before this Court.    Because this matter involves some
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     complexity, the parties require several weeks to complete it.


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 1 Accordingly,
 2        IT IS HEREBY STIPULATED BY THE PARTIES the following modification
 3 to the motion hearing and briefing schedule with respect to the
 4 defendant’s motions for new trial and judgment for acquittal,
 5 currently set for May 6, 2010:
 6     # Hearing on the defendant’s motions for new trial and judgment for
 7        acquittal may now be heard on May 27, 2010.
 8     # The government’s opposition is to be filed by May 13, 2010.
 9     # The defendant’s reply brief is to be filed May 20, 2010.
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     Dated: April 21, 2010              Respectfully submitted,
11
                                        BENJAMIN B. WAGNER
12                                      United States Attorney
13
                                  By:     /s/ Russell L. Carlberg
14                                      RUSSELL L. CARLBERG
                                        Assistant United States Attorney
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16
17                                       /s/ Emily Doringer
                                        EMILY DORINGER
18                                      Blackmon & Associates
                                        Attorney for Defendant Eric Clawson
19
20                                        ORDER
21        IT IS SO ORDERED.
22
23   Dated: April 27, 2010

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                                          _____________________________
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                                          MORRISON C. ENGLAND, JR.
26                                        UNITED STATES DISTRICT JUDGE
27                                      __________________________ _
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